           Case 1:20-cv-09734-JSR Document 6 Filed 12/02/20 Page 1 of 3
UNITED STATES DISTRICT COURT                                 Effective January 21, 2010
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------- x      NOTICE OF COURT CONFERENCE
3i
                 Plaintiff(s),                             20cv9734 (JSR)

               -v-
                                                                      USDC SDNY
                                                                      DOCUMENT
Exactus
                                                                      ELECTRONICALLY FILED
                Defendant(s).
                                                                      DOC #
----------------------------------------- x
                                                                      DATE FILED: 12-2-2020


To: The Attorney(s) for Plaintiff(s):

        The Honorable Jed S. Rakoff, U.S.D.J. has ordered that counsel for all parties attend a conference, at
the time and place fixed below, for the purpose of case management and scheduling pursuant to Fed. R. Civ.
P. 16. You are directed to furnish all attorneys in this action with copies of this notice and enclosures, and to
furnish Chambers with a copy of any transmittal letter(s). If you are unaware of the identity of counsel for
any of the parties, you should send a copy of the notice and rules to that party personally, informing the
party that any unrepresented party is required to appear at the conference in person. Finally, upon receipt of
this notice, please immediately furnish Chambers with a courtesy copy of your complaint and
F.R.C.P. Rule 7.1 Statement, if applicable.

       Since this case has been designated an electronic case, by the date of the initial pretrial
conference counsel for all parties are required to register as filing users in accordance with the
Procedures for Electronic Case Filing and file an Notice of Appearance.

       DATE AND PLACE OF CONFERENCE: 12-14-2020, ON A TELECONFERENCE LINE AT
11:00am. The dial-in information for the call will be as follows: USA Toll-Free (888) 363-4735; USA
Caller Paid/International Toll: (215) 446-3657; Access Code: 1086415.

        No application for adjournment will be considered unless made within one week of the date of
this notice. The fact that any party has not answered the complaint does not excuse attendance by
that party or warrant any adjournment of the conference.

       No later than one week prior to the conference, the parties shall furnish the Court with a
written report of their agreements or disagreements regarding planning of discovery pursuant to Fed.
R. Civ. P. 26(f). Enclosed is a form (Form D) for a Case Management Plan that the parties may utilize in
making this report. In the absence of agreement, the Court, after hearing from counsel, will order a Case
Management Plan and schedule at the conference. Absent extraordinary circumstances, the Plan shall
provide that the case be ready for trial within five months of the date of the conference.

       In addition to the matters covered in Form D, counsel should also be prepared to address at the
conference the factual and legal bases for their claims or defenses, any issue as to subject matter jurisdiction,
and any other issue relevant to case management.
       SO ORDERED.

                                                     S/   Jed S. Rakoff
                                                             JED S. RAKOFF
                                                                 U.S.D.J.
DATED: New York, New York
       December 2, 2020
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Revised Form D—For cases assigned to Judge Rakoff              Effective September 10, 2010
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------- x
3i
                    Plaintiff(s),                    CIVIL CASE MANAGEMENT PLAN
                                                             (JUDGE RAKOFF)
          -v-
                                                               20cv9734 (JSR)
Exactus
                    Defendant(s).
----------------------------------------- x

                       This Court requires that this case shall be ready for trial on
                                               5-14-2021.

        After consultation with counsel for the parties, the following Case Management Plan is adopted.
This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the Federal Rules of Civil Procedure.

A.     The case (is) (is not) to be tried to a jury. [Circle as appropriate]

B.     Joinder of additional parties must be accomplished by ____________________.

C.     Amended pleadings may be filed without leave of Court until ____________________.

D.     Discovery (in addition to the disclosures required by Fed. R. Civ. P. 26(a)):

       1. Documents. First request for production of documents, if any, must be served by
       ____________________. Further document requests may be served as required, but no document
       request may be served later than 30 days prior to the date of the close of discovery as set forth in item
       6 below.

       2. Interrogatories. Interrogatories pursuant to Rule 33.3(a) of the Local Civil Rules of the Southern
       District of New York must be served by ____________________. No other interrogatories are
       permitted except upon prior express permission of Judge Rakoff. No Rule 33.3(a) interrogatories
       need be served with respect to disclosures automatically required by Fed. R. Civ. P. 26(a).

       3. Experts. Every party-proponent of a claim (including any counterclaim, cross-claim, or third-
       party claim) that intends to offer expert testimony in respect of such claim must make the disclosures
       required by Fed. R. Civ. P. 26(a)(2) by ____________________. Every party-opponent of such
       claim that intends to offer expert testimony in opposition to such claim must make the disclosures
       required by Fed. R. Civ. P. 26(a)(2) by ____________________. No expert testimony (whether
       designated as “rebuttal” or otherwise) will be permitted by other experts or beyond the scope of the
       opinions covered by the aforesaid disclosures except upon prior express permission of the Court,
       application for which must be made no later than 10 days after the date specified in the immediately
       preceding sentence. All experts may be deposed, but such depositions must occur within the time
       limit for all depositions set forth below.
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       4. Depositions. All depositions (including any expert depositions, see item 3 above) must be
       completed by ____________________. Unless counsel agree otherwise or the Court so orders,
       depositions shall not commence until all parties have completed the initial disclosures required by
       Fed. R. Civ. P. 26(a)(1) or until four weeks from the date of this Order, whichever is earlier.
       Depositions shall proceed concurrently, with no party having priority, and no deposition shall extend
       beyond one business day without prior leave of the Court.

       5. Requests to Admit. Requests to Admit, if any, must be served by ____________________
       [insert date that is no later than 30 days prior to date of close of discovery as set forth in item 6
       below].

       6. All discovery is to be completed by ____________________. Interim deadlines for items 1–5
       above may be extended by the parties on consent without application to the Court, provided the
       parties are certain they can still meet the discovery completion date set forth in this paragraph. The
       discovery completion date may be adjourned only upon a showing to the Court of extraordinary
       circumstances, and may not be extended on consent.

E.      Post-discovery summary judgment motions in the form prescribed by the Court’s Individual Rules of
Practice may be brought on without further consultation with the Court provided that a Notice of any such
motion, in the form specified in the Court’s Individual Rules of Practice, is filed no later than one week
following the close-of-discovery date (item D-6 above) and provided that the moving papers are served by
____________________, answering papers by ____________________, and reply papers by
____________________ [the last of these days being no later than six weeks following the close of
discovery]. Each party must file its respective papers with the Clerk of the Court on the same date that such
papers are served. Additionally, on the same date that any papers are served and filed, counsel filing and
serving the papers must arrange to deliver courtesy non-electronic hard copies to the Courthouse for delivery
to Chambers.

F.       A final pre-trial conference, as well as oral argument on any post-discovery summary judgment
motions, shall be held on ____________________ [date to be inserted by the Court], at which time the Court
shall set a firm trial date. The timing and other requirements for the Joint Pretrial Order and/or other pre-
trial submissions shall be governed by the Court’s Individual Rules of Practice.

G.     All motions and applications shall be governed by Judge Rakoff’s Individual Rules of Practice.
Counsel shall promptly familiarize themselves with all of the Court’s Individual Rules, as well as with the
Local Rules for the United States District Court for the Southern District of New York.

           SO ORDERED.
                                                   _____________________________
                                                          JED S. RAKOFF
                                                              U.S.D.J.
DATED: New York, New York
       ___________________________.
